Case 1:04-cv-10981-PBS Document 1672-15 Filed 02/23/09 Page 1 of 3

EXHIBIT 14
Case 1:04-cv-10981-PBS Document 1672-15 Filed 02/23/09 Page 2 of 3

Hoskins, Sherri (Smith) 10/24/2007 9:14:00 AM

 

 

 

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IN THE UNITED STATES DISTRICT COURT 1 INDEX
FOR THE DISTRICT OF MASSACHUSETTS 2. WITNESS: SHERRI HOSKINS
IN RE: NEURONTIN MARKETING, SALES } 3 INDEX OF EXAMINATIONS
PRACTICES AND PRODUCTS LIABILITY ) 4 Page/Line
LITIGATION } 5 ByMr. Ferguson 8 B
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9
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) CASE NO. 10
11
}04-10981
12
THIS DOCUMENT RELATES TO: j
43
14
RUTH SMITH, Individually andas 46
Widow tor the use and benefit of ) 16
herself and the nextofkinof  ) 7
Richard Smith, deceased. ) 18
) 19
05-CV-11515 ) 20
) 21
VIDEGTAPED DEPOSITION OF 29
SHERRI HOSKINS 23
Takan on Behalf of the Defendant 24
October 24, 2007 25
4
1 APPEARANCES: 1 .
; For “ nuane KOLB 2 The videotaped deposition of
KENNETH 5. SOH 3.) SHERRI HOSKINS, taken on behaif of the Defendant,
4 Lanier Law Firm 4 on the 24th day of October, 2007, in the John Hood
5 ee Nong § Conference Room of Sheraton Music City Hotel, 777
713.659.5200 6 McGavock Pike, Nashville, Tennessee, for all ,
6 713.659.6416 7 purposes under the Federal Rules of Civil
wmk@lanienawfirm.com 8 Procedure
7 kss@lanierlawfirn.com .
mck@lanierlawfirm.com 9 The formalities as to notice,
5 For the Defendant 10 caption, certificate, at catera, are waived. Ail
‘or the Defendant:
10 KENNETH J. FERGUSON 11 objections, except as to the form of the
Clark, Thomas & Winters 12 = questions, are reserved to the hearing.
1 non 1 ie ae? 13 Itis agreed that Elisabeth A.
ustin, Texas
42 512.472.8800 14 ~~ Miller, being a Notary Pubtic and Court Reporter
§12.474.1129 15 for the State of Tennessee, may swear the witness,
Q Ki@ctw.cam 16 and that the reading and signing of the completed
Also Present: Amanda Martin, Videographer 17 deposition by the witness are waived.
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Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

 

Page - -4
Case 1:04-cv-10981-PBS Document 1672-15 Filed 02/23/09 Page 3 of 3

Hoskins, Sherri (Smith) 10/24/2007 9:11:00 AM

 

 

 

 

 

 

41 43
1 MR. FERGUSON: Okay. 1 getting around in a wheelchair?
2 MS. KOLB: You already asked her if 2 MS. KOLB: Objection, form.
3 her husband had told her anything about that 3 THE WITNESS; Could you rephrase
4 svisit. 4 that?
5 BY MR. FERGUSON: 5 BY MR. FERGUSON:
6 QQ.  Didhe? Did Buford tell you anything 6 Q. Sure.
7 about that visit? 7 A. | wantto make sure i'm answering you
&@ A. [don't remember. & correctly.
S$ Q. Okay. 9 . 9 Other than that day, you are aware that —
10 = A. I don't really remember anything that went 10 that your father utilized a wheelchair to get to
11s on in that visit. 11. Dr. Mackey's office?
12, Q. Okay. Did you talk to Cindy about that 12. A. My understanding is on that day he was
13° ——svisit? 13. rolled in a wheelchair, and that is the only time
14° A, You know, I'm -- I'm sure we discussed — 14 | remember.
15 discussed it, but it seemed inconsequential, | 15 @. Okay. In the record of Dr. Mackey from
16 guess, because I dont remember any specifics. 16 March 9 of 2004, he says, “His daughter" — and
17 Q. Were you aware — well, up until the 17 Cindy was the ona who was present, to your
18 present time, are you aware that on that visit 18 understanding; is that correct?
19 ~~ that they pushed your father up to Dr. Mackey's 19 A. Correct.
20 ~~ office in a wheelchair? 20 «6G. Dr, Mackey says, "His daughter raised the
21. =A. = Bolknow that they pushed him in a 21 > concem, though, about whether or not there are
22 ~~ wheelchair? 22 ~~ some other issues going on, and we are going to go
23. #@. Yes, ma'am. 23. ahead and have him evaluated psychiatrically to
26 AL Yes. : 24 make sure there is not a dementia type issue
25 Q. And how did you become aware of that? 25 playing into this as well.”
42 44
tT A. I don't remember exactly how | found out 41 First of ali, did you read that record in
2 about that, but | do know that, 2 your mother’s deposition or as an exhibit to your
3. ° Q. Okay. And do you know why they used a 3s mother’s deposition? Do you racall?
4 wheelchair to get him to Dr. Mackey’s office? 4 A. | don't know if | read it or not.
5 A [really don't know. 5 @. — Did you have any discussion with Cindy at
6 Q. — Did you ever know of him to use a 6 or around the time frame of March 9 of 2004
7 — wheelchair any other time, other than this day 7 — whether there was some kind of issue of dementia
8 with Dr. Mackey's office? 8 of + or mental problems with your father?
9 A. My dad was never in a wheelchair. 9 A. [know | didn't personally because |
10 Q. Okay. Other than that day? 10 didn't think that my dad had — my dad didn’t have
414. A And|—Ididn't witness that, but | 411. any mentai problems.
12°) never saw my dad in a wheelchair. 12. @. Did you ever become aware that Dr. Mackey
13. Q. ~~ Dr. Mackey in his note said, “The pain has 13. had said that we are going to go ahead and have
14 — gotten to the point that he is getting around ina 14 him evaluated by a psychiatrist?
15 wheelchair.” That's not correct in your view, 15° A. No.
16 correct? 16 @. So you never had a discussion with -- with
17 A. ‘That's correct, 17 your mother, with your sisters regarcing whether
18 MS. KOLB: Just to make sure the 48 = your dad ought to see a psychiatrist in this
19 record -- that's correct that it's not correct? 19 March 2004 time frame?
20 THE WITNESS: That's correct that 20 =A. ONG.
21 Dr. Mackey was not correct in his statement. 21 @~ And you never observed anything in your
22 MS. KOLB: | just wanted to make sure 22 ~~ father, even up until the time of his death, that
23 sitwasclear. Thanks. 23. appeared to be — be a mental prootem, dementia,
24 BY MR. FERGUSON: 24 anything like that?
25 @. Other than you're aware that day he was 25 A. No, I didnt.
Neurontin Track One (Plaintiff / Prescriber / Expert Depos) Page 41-44
